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 1   LAW OFFICES OF SCOTT L. TEDMON
     A Professional Corporation
 2
     SCOTT L. TEDMON, CA. BAR # 96171
 3   980 Ninth Street, 16th Floor
     Sacramento, California 95814
 4   Telephone: (916) 449-9985
     Facsimile: (916) 446-7104
 5

 6   Attorney for Defendant
     ALEKSANDR MIKHAYLOV
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                  )
11   UNITED STATES OF AMERICA,                    )   Case No. 2:12-CR-00322-MCE
                                                  )
12                                                )
                              Plaintiff,          )   STIPULATION AND ORDER RE:
13                                                )   EXONERATION OF UNSECURED
             vs.                                  )   BAIL; RETURN OF U.S.
14                                                )
     ALEKSANDR MIKHAYLOV,                         )   PASSPORT
15                                                )
                             Defendant.           )
16                                                )
                                                  )
17
             The United States of America, by and through Assistant United States
18

19   Attorney Heiko P. Coppola, and defendant Aleksandr Mikhaylov, by and through

20   counsel Scott L. Tedmon, hereby agree and stipulate to the exoneration of the
21
     unsecured bail for defendant Aleksandr Mikhaylov. The parties further agree and
22
     stipulate that defendant Aleksandr Mikhaylov’s U.S. Passport be returned to his
23
     attorney of record, Scott L. Tedmon The basis for this stipulation is as follows:
24

25           1. On October 18, 2012, defendant Aleksandr Mikhaylov was ordered

26                 released on unsecured bail in the amount of $100,000.
27
             2. On October 18, 2012, as a condition of release defendant Aleksandr
28
                   Mikhaylov relinquished his U.S. Passport to the Clerk of the Court.


     Stipulation and Order                                   Case No. 2:12-CR-00322-MCE
                                                  1
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 1           3. On June 3, 2015, United States District Judge Morrison C. England, Jr.
 2
                  issued an order dismissing the Indictment without prejudice as to
 3
                  defendant Aleksandr Mikhaylov.
 4
             4. Defendant Aleksandr Mikhaylov’s case has now concluded and there is no
 5

 6                longer a need for the unsecured bail previously posted to remain in effect.

 7           5. Defendant Aleksandr Mikhaylov’s case has now concluded and there is no
 8
                  longer a need for the Office of the Clerk for the United States District
 9
                  Court, Eastern District of California to retain possession of his U.S.
10
                  Passport. As such, defendant Aleksandr Mikhaylov’s U.S. Passport
11

12                should be returned to defendant Aleksandr Mikhaylov’s counsel of record,

13                Scott L. Tedmon.
14
             Based on the foregoing, the undersigned parties agree and stipulate the
15
     heretofore posted unsecured bail on behalf of defendant Aleksandr Mikhaylov be
16
     exonerated. The parties further agree and stipulate defendant Aleksandr
17

18   Mikhaylov’s U.S. Passport be returned by the Clerk’s Office for the United States

19   District Court, Eastern District of California to defendant Aleksandr Mikhaylov’s
20
     counsel of record, Scott L. Tedmon
21
     IT IS SO STIPULATED.
22
     DATED: June 16, 2015                 BENJAMIN B. WAGNER
23
                                          United States Attorney
24
                                          /s/ Heiko P. Coppola
25                                        HEIKO P. COPPOLA
                                          Assistant United States Attorney
26

27

28




     Stipulation and Order                                    Case No. 2:12-CR-00322-MCE
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 1   DATED: June 16, 2015               LAW OFFICES OF SCOTT L. TEDMON
 2
                                        /s/ Scott L. Tedmon
 3                                      SCOTT L. TEDMON
                                        Attorney for Defendant Aleksandr Mikhaylov
 4

 5

 6                                          ORDER

 7
             GOOD CAUSED APPEARING and based on the foregoing stipulation, it is
 8

 9   hereby ordered the unsecured bail posted on behalf of defendant Aleksandr

10   Mikhaylov is hereby exonerated.
11
             It is hereby ordered that defendant Aleksandr Mikhaylov’s U.S. Passport be
12
     returned by the Clerk’s Office for the United States District Court, Eastern District
13
     of California to defendant Aleksandr Mikhaylov’s counsel of record, Scott L.
14

15   Tedmon.

16           IT IS SO ORDERED.
17
     Dated: June 17, 2015
18

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     Stipulation and Order                                 Case No. 2:12-CR-00322-MCE
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